                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION


LISA D. BERRY and MARLO ROSE
WELLS, individually and as Co-
Administrators of the Estate of
BELINDA COLEMAN, deceased
3702 Marrison Place
Indianapolis, IN 46205                      Case No.

           and
                                            JURY TRIAL DEMANDED
5121 Chatham Place
Indianapolis, IN 46226

           and

LISA D. BERRY and MARLO ROSE
WELLS, individually and as Co-
Administrators of the Estate of
ANGELA COLEMAN, deceased
3702 Marrison Place
Indianapolis, IN 46205

           and

5121 Chatham Place
Indianapolis, IN 46226

              Plaintiffs

vs.

RIPLEY ENTERTAINMENT, INC.,
d/b/a RIDE THE DUCKS
7576 Kingspointe PKWY – Suite 188
Orlando, FL 32819

           and

RIDE THE DUCKS INTERNATIONAL LLC,
d/b/a RIDE THE DUCKS
222 E. Dunklin Street, Suite 102
Jefferson City, MO 65101




      Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 1 of 43
             and

 RIDE THE DUCKS OF BRANSON, LLC,
 d/b/a RIDE THE DUCKS
 2320 W. Highway 76
 Branson, MO 65616

             and

 HERSCHEND FAMILY ENTERTAINMENT
 CORPORATION, d/b/a RIDE THE DUCKS
 2800 W. 76 Country Boulevard
 Branson, MO 65616

             and

 AMPHIBIOUS VEHICLE
 MANUFACTURING, LLC
 2320 W. Highway 76
 Branson, MO 65616

                Defendants

                                            COMPLAINT

       COME NOW the Plaintiffs, above-named, by and through their attorneys, Aleshire Robb,

P.C., and allege as follows:

                                   I.      INTRODUCTION

       1.      On July 19, 2018, seventeen people had their lives tragically and horrifically

taken from them when the Ride the Ducks Stretch Duck 07 Duck Boat sank to the bottom of

Table Rock Lake in Branson, Missouri.

       2.      As Stretch Duck 07 sank, the canopy of the Duck Boat entrapped passengers and

dragged them to the bottom of the lake with the Duck Boat.

       3.      On that day, Defendant, Ripley Entertainment, Inc. (“Ripley”), operated

Stretch Duck 07 and recklessly risked the lives of its passengers for purely financial reasons.




                                                 2



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 2 of 43
          4.    Despite being aware of impending severe weather conditions, Ripley intentionally

decided to take the Duck Boat out onto Table Rock Lake instead of cancelling the tour and

refunding the patrons’ money.

          5.    Stretch Duck 07 was designed and manufactured by Defendants, Ride the Ducks,

International, LLC, Ride the Ducks of Branson, LLC, Herschend Family Entertainment

Corporation and/or Amphibious Vehicle Manufacturing, LLC. These Defendants will be

collectively referred to as “RTDI”, unless otherwise indicated.

          6.    This tragedy was the predictable and predicted result of decades of unacceptable,

greed-driven, and willful ignorance of safety by the Duck Boat industry in the face of specific

and repeated warnings that their Duck Boats are death traps for passengers and pose grave

danger to the public on water and on land.

          7.    Prior to this catastrophe, the Duck Boat industry knew that their Duck Boats were

entirely unfit to be used for any purpose and had previously been responsible for dozens of

deaths.

          8.    Prior to killing seventeen people in Branson, injuring fourteen others, and ruining

the lives of countless more, Defendants had been told that design flaws in the Duck Boats made

them more susceptible to sinking.

          9.    On numerous occasions before July 19, 2018, Defendants were warned that the

canopies used on their Duck Boats were dangerous and created death traps for passengers in the

event of emergency.

          10.   For two decades, Defendants had been repeatedly told to change the design of

their Duck Boats to make them safer, but they entirely ignored these warnings.




                                                 3



          Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 3 of 43
       11.     As recently as August 2017, Defendants were again warned that the dangerous

design of their Duck Boats put their vessels at risk of sinking.

       12.     Upon information and belief, in August 2017, prior to purchasing the Branson

operations of RTDI, Ripley hired an inspector, Steven Paul, to inspect the Branson Duck Boats.

       13.     Defendants were told by Steven Paul that their Duck Boats’ engines and the bilge

pumps that remove water from their hulls might fail in bad weather due to the improper

placement of the boats’ exhaust system.

       14.     Defendants did nothing in response to these warnings.

       15.     Despite the fact that Defendants knew their Duck Boats were unfit to be used

even in ideal conditions, on the date of this catastrophe, Defendants’ greed caused them to ignore

severe weather conditions that demanded they cancel all trips scheduled for their Duck Boats.

       16.     Despite countless explicit warnings, Defendants repeatedly chose to value profits

over the safety of their passengers, and sent Stretch Duck 07 and thirty-one people out on Table

Rock Lake on July 19, 2018, where the vessel took on water and sank to the bottom of the lake,

dragging seventeen innocent victims to their avoidable deaths and causing life-altering injuries to

the fourteen passengers who survived.

                                         II.    PARTIES

       17.     Plaintiff, Lisa D. Berry, is an adult citizen of Indiana, residing at 3702 Marrison

Place, Indianapolis, IN 46205.

       18.     Plaintiff, Marlo Rose Wells, is an adult citizen of Indiana, residing at 5121

Chatham Place, Indianapolis, IN 46226.




                                                  4



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 4 of 43
       19.     Plaintiffs, Lisa D. Berry and Marlo Rose Wells, are Co-Administrators of the

Estates of their sister, Belinda “Toni” Coleman, deceased, and their niece, Angela Coleman,

deceased.

       20.     Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, is a corporation

organized and existing under the laws of the State of Florida with a registered corporate

Headquarters at 7576 Kingspointe Pkwy – Suite 188 in Orlando Florida, which at all times

relevant herein engaged in substantial, continuous, regular and systematic business in the State of

Missouri.

       21.     At all relevant times herein, Defendant, Ripley Entertainment, Inc., d/b/a Ride the

Ducks, acted by and through its respective agents, servants, workmen and employees acting

within the scope of their authority and employment.

       22.     Defendant, Ride the Ducks International LLC, d/b/a Ride the Ducks, is a

corporation organized and existing under the laws of the State of Missouri with a registered

agent for service of process at Capitol Corporate Services, Inc., 222 E. Dunklin Street, Suite 102,

Jefferson City, MO 65101, which at all times relevant herein engaged in substantial, continuous,

regular and systematic business in the State of Missouri.

       23.     At all relevant times herein, Defendant, Ride the Ducks International LLC, d/b/a

Ride the Ducks, acted by and through its respective agents, servants, workmen and employees

acting within the scope of their authority and employment.

       24.     Defendant, Ride the Ducks of Branson, LLC, d/b/a Ride the Ducks, is a

corporation organized and existing under the laws of the State of Missouri with a registered

agent for service of process at 2320 W. Highway 76, Branson, MO 65616, which at all times




                                                5



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 5 of 43
relevant herein engaged in substantial, continuous, regular and systematic business in the State of

Missouri.

       25.     At all relevant times herein, Defendant, Ride the Ducks of Branson, LLC, d/b/a

Ride the Ducks, acted by and through its respective agents, servants, workmen and employees

acting within the scope of their authority and employment.

       26.     Defendant, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks,

is a corporation organized and existing under the laws of the State of Missouri with its principal

place of business located at 2800 W. 76 Country Boulevard, Branson, MO 65616, which at all

times relevant herein engaged in substantial, continuous, regular and systematic business in the

State of Missouri.

       27.     At all relevant times herein, Defendant, Herschend Family Entertainment

Corporation, d/b/a Ride the Ducks, was acting by and through its respective agents, servants,

workmen and employees acting within the scope of their authority and employment.

       28.     Defendant, Amphibious Vehicle Manufacturing, LLC, is a corporation organized

and existing under the laws of the State of Missouri with a registered agent for service of process

at 2320 W. Highway 76, Branson, MO 65616, which at all times relevant herein engaged in

substantial, continuous, regular and systematic business in the State of Missouri.

       29.     At all relevant times herein, Defendant, Amphibious Vehicle Manufacturing,

LLC, was acting by and through its respective agents, servants, workmen and employees acting

within the scope of their authority and employment.

       30.     On December 18, 1996, Ride the Ducks of Branson, Inc. was created by way of

the filing of Articles of Incorporation.




                                                 6



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 6 of 43
       31.     In 2001, the RTDI Defendants partnered with Herschend Family Entertainment

Corporation in pursuit of national and international expansion.

       32.     On November 15, 2001, Ride the Ducks International, LLC was created by way

of filing Articles of Organization.

       33.     On November 16, 2001, an Amendment of Articles of Incorporation of Ride the

Ducks of Branson, Inc., was filed, changing the corporation’s name to RFMC Investments, Inc.

       34.     On November 19, 2001, Ride the Ducks of Branson, LLC was created by way of

filing Articles of Organization.

       35.     On November 19, 2001, Amphibious Vehicle Manufacturing, LLC was created

by way of filing Articles of Organization.

       36.     In 2004, Defendant, Herschend Family Entertainment Corporation, became the

sole owner of Ride the Ducks.

       37.     On October 27, 2005, Ride the Ducks of Branson, LLC filed Notices and Articles

of Merger of Limited Liability Companies, merging with Ride the Ducks of Memphis, LLC,

Ride the Ducks of San Diego, LLC, Ride the Ducks of Baltimore, LLC, Ride the Ducks of

Philadelphia, LLC, Ozarks Scenic Tours, LLC, Amphibious Vehicle Manufacturing, LLC, Duck

Development, LLC, and Ride the Ducks International, LLC.

       38.     Given the interrelated nature of the RTDI Defendants in this litigation, they are

referred to collectively unless otherwise indicated.

       39.     In December 2017, Defendant, Ripley Entertainment, Inc., acquired the Branson

operations of the RTDI Defendants, as well as its vehicles, which were designed and

manufactured by the RTDI Defendants.




                                                 7



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 7 of 43
       40.     RTDI continues to operate as the nation’s largest amphibious tour operator with a

fleet of nearly 100 vessels which carry over 1 million guests annually.

       41.     RTDI’s continued existence poses a threat to the lives of its guests and the public

through its operation of these dangerous Duck Boats.

                             III.    JURISDICTION AND VENUE

       42.     The Court has jurisdiction over the subject matter of this action pursuant to

28 USC § 1332(a) because the matter in controversy exceeds the jurisdictional threshold,

exclusive of costs, it is between citizens of different states, and because the defendants each have

certain minimum contacts with the State of Missouri such that the maintenance of the suit in this

district does not offend traditional notions of fair play and substantial justice.

       43.     Venue in the United States District Court for the Western District of Missouri is

proper pursuant to 28 USC § 1391(a)(2) because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims and causes of action occurred in this judicial district, and because

Defendants were subject to personal jurisdiction in this judicial district at the time of the

commencement of the action.

                                           IV.     FACTS

The Deadly History of Duck Boats

       44.     Prior to the tragic events of July 19, 2018, Defendants knew that their Duck Boats

were inherently unsafe given that from 1999 to 2016, their boats were directly responsible for the

deaths of dozens of innocent people.




                                                   8



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 8 of 43
       45.     On May 1, 1999, The Miss Majestic Duck Boat sank on Lake Hamilton

Arkansas, drowning 13 Duck Boat passengers.

       46.     In December 1999, the National Transportation Safety Board (“NTSB”) held a

public forum on amphibious passenger vehicle safety, which was attended by members of the

amphibious passenger vehicle industry and technical experts.

       47.     Prior to July 19, 2018, Defendants were well aware of the Miss Majestic tragedy,

which was a topic of frequent discussion in the industry.

       48.     On February 18, 2000, the NTSB issued the following safety recommendations to

operators of amphibious passenger vehicles in the United States:

               M-00-5 “Without delay, alter your amphibious vessels to provide reserve
               buoyancy      through    passive     means,     such     as    watertight
               compartmentalization, built-in flotation, or equivalent measures, so that
               they will remain afloat and upright in the event of flooding, even when
               carrying a full complement of passenger and crew.”



                                                9



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 9 of 43
       49.    Defendants had knowledge of the existence of this recommendation and read it

before July 19, 2018.

       50.    RTDI specifically responded to the NTSB’s report, writing a letter to Jim Hall,

Chairman of the NTSB on June 26, 2000, in an attempt to refute the NTSB’s M-00-5 Safety

Recommendation.

       51.    In this letter, Robert F. McDowell, then president of Ride the Ducks Branson,

admitted that the significant costs associated with making their Duck Boats safer posed a

roadblock to adopting the NTSB’s recommendations:




                                            ....




                                            ....




                                             10



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 10 of 43
       52.     Robert McDowell’s challenge of the NTSB chairman and the NTSB safety

recommendation was driven solely by an attempt to value profits over the safety of Defendants’

passengers as Mr. McDowell had no training or formal academic background in engineering.

       53.     Robert McDowell designed and developed “stretch duck” boats, including Stretch

Duck 07.

       54.     Upon information and belief, Robert McDowell completed just two years of

college and had no background, training or certification in mechanics to support his claims of

alternative design.

       55.     Upon information and belief, Robert McDowell’s design was based entirely upon

conversations with a high school football coach who previously co-owned the Ride the Ducks

business.

       56.     Upon information and belief, Robert McDowell “self-educated by going to auto

parts stores and talking to different people” and did not consult with any engineers when

designing the stretch Duck Boats.

       57.     Jim Hall, chairman of the NTSB, responded directly to Robert McDowell’s

attempt to rebuff the NTSB recommendations on August 16, 2000, emphasizing that the

recommendations were made “because the Board believed that immediate action was necessary

to avoid additional loss of life”.




                                             11



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 11 of 43
                                            ....




                                            ....




       58.    Despite the NTSB chairman’s warning directed to Robert McDowell and to

Defendants that immediate action was necessary to avoid additional loss of life, Defendants

ignored this warning.

       59.    On April 2, 2002, the NTSB adopted and published a report entitled “Marine

Accident Report Sinking of the Amphibious Passenger Vehicle Miss Majestic, Lake Hamilton,

near Hot Springs, Arkansas, May 1, 1999.”

       60.    According to the NTSB Miss Majestic report, “[o]ne major outcome of the forum

was the realization by participants that amphibious vehicles pose unique and unresolved safety



                                             12



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 12 of 43
risks to the public, but that the vehicles could be made safe by installing safety features that

would prevent them from sinking when flooded.”

       61.     The 2002 NTSB report found “unacceptable level of risks to passenger safety

continue to exist in these vehicles…because the industry has failed to take voluntary action to

address [the risk posed by lack of adequate reserve buoyancy].”

       62.     The NTSB Miss Majestic report found that the overhead canopy over

passengers’ heads “essentially caged them, making escape in limited time available

extremely difficult”.     The report also concluded that “the natural buoyancy of the

passengers’ bodies forced them into the overhead canopy, which acted like a net to entrap

them and to prevent their vertical escape.”

       63.     The NTSB report concluded that the “canopies present major safety risks . . .

[especially since] . . . [t]his unique vehicle is often promoted to and used by school groups. . . .

The Safety Board therefore concludes that, on amphibious passenger vehicles that cannot remain

afloat when flooded, canopies represent an unacceptable risk to passenger safety.”

       64.     On June 23, 2002, just two months after the NTSB’s report, the Lady Duck sank

in the Ottawa River.

       65.     Four passengers, including a mother and her two young children, were trapped

under the sinking boat’s canopy and ultimately drowned. Even more tragically, these victims

were able to put on life jackets but became ensnared in the canopy and were dragged down with

the boat.

       66.     Subsequent investigation revealed that, in addition to the canopy’s failures, a

failure of the Lady Duck’s bilge pump contributed to this tragedy.




                                                13



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 13 of 43
       67.      The dangers and unacceptable risks of Duck Boats were further highlighted by

the July 7, 2010 tragedy where DUKW Boat 34 sank in Philadelphia and resulted in the deaths

of two Hungarian tourists, Dora Schwendtner and Szabolcs Prem.

       68.     A collision between a Duck Boat and a barge caused the Duck Boat to sink.

       69.     Due to the defective canopy design on the Duck Boat, Dora and Szabolcs became

trapped and dragged down with the vessel, causing their horrific and painful deaths by drowning.

       70.     Representatives from RTDI were repeatedly told during the litigation that ensued

of the dangers of their canopy design and the fact that engineering analysis established that the

Duck Boat was defective and should not be in use.

       71.     In addition to being dangerous on water, Duck Boats are deadly on land.

       72.     On May 8, 2015, Elizabeth Karnicki was run over and killed by a Duck Boat

owned and operated by RTDI in Philadelphia, PA while her husband was forced to watch.

       73.     The operator of DUKW 46 failed to observe Elizabeth Karnicki lawfully crossing

in front of his vehicle due to his lack of situational awareness and the massive blind spots on the

Duck Boat caused by the bow in front of the operator which prevented him from being able to

see the pedestrian in front of him.

       74.     Four months later, on September 24, 2015, the front axle of a Duck Boat broke in

Seattle, causing a horrific accident with a bus which left five dead and injured sixty-nine.

       75.     Prior to the Seattle tragedy, RTDI was aware of a front axle defect in its Duck

Boats but failed to issue the appropriate recall, a flagrant violation of applicable law, which

would have prevented this horrible accident.

       76.     On April 30, 2016, a Duck Boat caused tragedy again when a Boston woman was

run over by a boat while riding her scooter.




                                                 14



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 14 of 43
       77.        Twenty-eight-year-old Allison Warmuth met her tragic demise as the result of an

inattentive Duck Boat driver, who was seen on video, turned in his seat and pointing out

landmarks when he ran over Ms. Warmuth with the 2.5 ton vessel.

       78.        Upon information and belief, in August 2017, prior to purchasing the Branson

operations of RTDI, Ripley hired inspector Steven Paul to inspect the Duck Boats used by the

Branson operation, including Stretch Duck 07.

       79.        According to Mr. Paul, his inspection was conducted “so [Ripley] had the

opportunity to know what they were buying before the sale was final”.

       80.        Upon information and belief, Steven Paul warned Defendants that the design of

their Duck Boats put their vessels at risk of sinking.

       81.        Upon information and belief, the chassis for Stretch Duck 07 was originally built

in 1944 and used a four-ton-truck-chassis.

       82.        Defendants’ decision to use the chassis from the 1940s was for the purpose of

avoiding modern safety and emissions standards.

       83.        Upon information and belief, Defendants were specifically told that the dangerous

design of the Duck Boats rendered them susceptible to sinking in the event of rough conditions

on the water due to the improper placement of the motor’s exhaust in front of the boat and below

the water line.

       84.        According to reports, Mr. Paul told Defendants that “in rough conditions, water

could get into the exhaust system, and then into the motor, cutting it off”.

       85.        These were the exact conditions faced by Stretch Duck 07 on Table Rock Lake on

July 19, 2018.




                                                 15



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 15 of 43
The Tragic Events of July 19, 2018

       86.       Defendants’ Stretch Duck 07 should have never been on the water on the date of

this tragedy.

       87.       Jim Pattison, Jr., Ripley’s president, admitted as much when asked in an interview

if the boat should have been on the water, replying “no, it shouldn’t have been in the water”.

       88.       At 11:24 a.m. on the morning of July 19, 2018, the National Weather Service

issued a severe thunderstorm watch for much of southwest Missouri, including Table Rock Lake.




       89.       The severe thunderstorm watch was in effect from 11:20 a.m. until 9:00 p.m. on

July 19, 2018.



                                                 16



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 16 of 43
       90.    Despite the severe thunderstorm watch, Ripley prioritized profits over safety and

continued normal business operations.

       91.    At 6:32 p.m., the warning was upgraded to a severe thunderstorm warning,

specifically for Taney, Stone, and Barry counties, including Table Rock Lake, warning that the

area was to experience winds of up to 60 miles per hour.




       92.    In the face of this second, heightened warning, Ripley continued to prioritize

profits over safety and carried on with normal business operations, sending Ride the Ducks


                                               17



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 17 of 43
Stretch Duck 07 out on Table Rock Lake with thirty-one people on board, including

Belinda Coleman and Angela Coleman.

       93.     Previously, Ripley had marketed and sold tickets to these passengers for a tourist

trip on the amphibious vehicle which was to first include a tour through the streets of Branson,

followed by a cruise on Table Rock Lake.

       94.     The subject tour was scheduled to begin at 6:30 p.m.

       95.     Upon information and belief, at 6:28 p.m., the Captain and Driver of Stretch Duck

07 were told to modify the tour schedule and take the water portion before the land portion in an

effort to beat the storm.

       96.     As passengers began to board the vessel, the Captain acknowledged that he had

monitored the weather radar before the trip.

       97.     At approximately 6:50 p.m., the Captain began a safety briefing before the boat

entered the water.

       98.     During this briefing, passengers were told they would not need their life jackets.

       99.     This Captain was specifically trained, consistent with RTDI policy that they

should forego water entry anytime severe weather is approaching the area, or if there is a risk of

winds exceeding 35 miles per hour, or if waves may be higher than 2.5 feet.

       100.    Thus, by entering the water when severe weather was approaching, Ripley

violated its own policies and the policies that previously existed under RTDI.

       101.    After Stretch Duck 07 entered the water, the well-predicted storm arrived and the

Duck Boat encountered waves as high as four feet on Table Rock Lake.




                                                18



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 18 of 43
        102.    At this point, company policy mandated that the Captain instruct passengers to

put on their life jackets.

        103.    Again the Captain violated protocol and never gave this instruction.

        104.    Instead, the captain lowered the plastic side curtains, thus further entrapping

passengers in the soon-to-sink vessel.

        105.    Due to the defective design of the Duck Boat, Stretch Duck 07 struggled to fight

through these waves, with its bow going under water.




                                                19



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 19 of 43
       106.    Due to the defective design of the Duck Boat, Stretch Duck 07 was unable to stay

above the surface of Table Rock Lake, taking on water and slowly sinking lower in the lake with

each additional gallon of water that poured in.




       107.    Due to the dangerous and defective canopy of Stretch Duck 07, its passengers

were trapped inside the Duck Boat as it sank below the surface of Table Rock Lake.

       108.    As a direct and proximate result of Defendants’ carelessness, negligence, gross

negligence, recklessness, outrageous conduct, and complete disregard for the welfare of their

passengers, seventeen people were dragged to their horrific deaths when Stretch Duck 07 sank to

the bottom of Table Rock Lake, with the fourteen survivors suffering life-altering injuries.

       109.    As the Duck Boat sank to the bottom of Table Rock Lake, the canopy entrapped

passengers and dragged them down with the Duck Boat.

       110.    Included in the deceased are Belinda Coleman and Angela Coleman, who suffered

agonizing deaths, submerged beneath the waters of Table Rock Lake.

       111.    Prior to their deaths, Belinda Coleman and Angela Coleman suffered

unimaginable fear of impending death.



                                                  20



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 20 of 43
       112.    Belinda Coleman and Angela Coleman struggled and fought to resurface but they

eventually were deprived of oxygen and suffered horrific death by drowning.

       113.    Prior to July 19, 2018, Defendants knew that Duck Boats are deadly on the land

and on the water.

       114.    Prior to July 19, 2018, Defendants knew that their Duck Boats’ minimal

usefulness as a product is outweighed by the grave danger they pose to the community.

       115.    Despite Defendants’ knowledge, they chose to value profits over the safety of

their passengers and sent thirty-one innocent people in Stretch Duck 07 out on Table Rock Lake

on July 19, 2018, willfully and intentionally placing them directly in harm’s way.

       116.    The injuries and death sustained as a result of this tragedy were caused as a direct

and proximate result of the negligence, gross negligence, carelessness, recklessness and/or other

liability-producing conduct of Defendants.

       117.    As a result, Plaintiffs claim damages for all general, special, incidental and

consequential damages incurred, or to be incurred, by Plaintiffs including, among other things,

wrongful death benefits, damages for the horrific and agonizing pain and suffering endured by

Belinda Coleman and Angela Coleman until the moment of their deaths, and damages for the

loss of the services, consortium, companionship, comfort, instruction, guidance, counsel, training

and support of Belinda Coleman and Angela Coleman.

       118.    Plaintiffs also claim aggravating circumstances damages against Defendants to

punish Defendants and to deter others from like conduct.

       119.    Defendants, Ripley Entertainment, Inc., d/b/a Ride the Ducks, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious




                                                21



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 21 of 43
Vehicle Manufacturing, LLC, are jointly and severally liable for the catastrophic injuries

sustained by Plaintiffs as a result of this senseless tragedy.

                                   COUNT I – NEGLIGENCE

      PLAINTIFFS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS

       120.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       121.    Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, owed Plaintiffs a

duty to act reasonably before conducting Duck Boat tours and to obey all waterway and boating

rules and standards while operating Duck Boats on Table Rock Lake.

       122.    Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, breached that duty

and proximately caused the injuries to Plaintiffs.

       123.    Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, by and through its

respective agents, servants, workmen and employees, was negligent, careless, grossly negligent

and reckless both generally and in the following particular respects, all of which was within the

privity and/or knowledge of Defendant:

               a.      Failing to implement policies, procedures and crew training to ensure
                       passenger safety when Duck Boats were operating on Table Rock Lake;

               b.      Failing to develop and implement sufficient safety procedures for
                       emergency situations, including but not limited to, abandoning ship;

               c.      Failing to train its personnel how to properly operate Duck Boats in the
                       event of adverse weather;

               d.      Operating the Duck Boat in a careless and negligent manner;

               e.      Failing to exercise reasonable care under all of the circumstances;

               f.      Operating a vessel whose engine and/or exhaust system were in a known
                       poor state of repair;




                                                  22



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 22 of 43
     g.    Failing to have properly operating safety equipment on board;

     h.    Failing to distribute life jackets in a timely manner;

     i.    Failing to ensure that all passengers put on their life jackets and that the
           jackets were properly secured;

     j.    Failing to ensure that the captain and the crew were properly trained to
           operate the Duck Boat;

     k.    Failing to properly train the crew in the proper and safe operation of the
           Duck Boat;

     l.    Failing to maintain the Duck Boat in a reasonable manner;

     m.    Failing to recognize a risk to passenger safety in operating the Duck Boat
           during a severe thunderstorm warning;

     n.    Failing to implement and/or follow standard operating procedures;

     o.    Failing to properly qualify the crew;

     p.    Failing to provide the fleet and/or crew with effective safety policies and
           procedures;

     q.    Failing to properly oversee the fleet and/or crew;

     r.    Failing to correct conditions of unseaworthiness within their privity or
           knowledge;

     s.    Failing to have a competent crew piloting the vessel;

     t.    Failing to have a policy prohibiting operation of Duck Boats during a
           severe thunderstorm warning;

     u.    Failing to train their personnel not to operate Duck Boats during a severe
           thunderstorm warning;

     v.    Failing to have a seaworthy vessel that would remain afloat while flooded;

     w.    Failing to incorporate the safety recommendations of the NTSB;

     x.    Failing to properly monitor the weather;

     y.    Failing to have proper severe weather policies.




                                     23



Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 23 of 43
       124.    By reason of the carelessness, negligence, gross negligence and recklessness of

Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, Plaintiffs were caused to sustain

the serious, permanent, disabling, and fatal personal injuries as set forth more fully above.

       125.    By conducting itself as described above, Defendant, Ripley Entertainment, Inc.,

d/b/a Ride the Ducks, evidenced a reckless and/or conscious disregard for the rights and safety of

others, including Plaintiffs.

       126.    By conducting itself as described above, the acts and/or omissions of the

Defendant, Ripley Entertainment, Inc., d/b/a Ride the Ducks, were a substantial factor, a factual

cause and/or increased the risk of harm of Plaintiffs’ catastrophic and fatal injuries.

       WHEREFORE, Plaintiffs demand judgment against Defendant, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, for compensatory damages in excess of the jurisdictional threshold,

along with damages for delay, costs, fees, exemplary, aggravating circumstances damages,

punitive damages, and all other damages allowable and recoverable by law.

                         COUNT II - STRICT PRODUCT LIABILITY

PLAINTIFFS v. RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS,
  RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND
   FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
               AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       127.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       128.    The RTDI Defendants, by and through their agents, servants, workers,

contractors, designers, assemblers, manufacturers, sellers, suppliers and distributors are strictly

liable under Missouri Revised Statute § 537.760.1 because:

               a.      Defendants are engaged in the business of designing, manufacturing,
                       assembling, distributing, selling and/or supplying Duck Boats;




                                                 24



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 24 of 43
               b.     The Duck Boat involved in Plaintiffs’ accident was placed in the general
                      stream of commerce by Defendants;

               c.     The Duck Boat involved in Plaintiffs’ accident was put to use in a manner
                      reasonably anticipated by Defendants; and

               d.     The Duck Boat involved in Plaintiffs’ accident was designed,
                      manufactured, assembled, distributed and/or sold in a defective condition
                      for the reasons set forth below.

       129.    The RTDI Defendants, by and through their agents, servants, workers,

contractors, designers, assemblers, manufacturers, sellers, suppliers and distributors are strictly

liable under Missouri Revised Statute § 537.760.1 by:

               a.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product in a defective condition;

               b.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product that was unreasonably dangerous for its intended use;

               c.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product that was not safe for all of its intended and represented purposes;

               d.     Failing to have adequate warnings/instructions on and/or with the Duck
                      Boat;

               e.     Failing to provide adequate warnings/instructions to the ultimate users of
                      the product;

               f.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product which lacked all the necessary safety features;

               g.     Designing, assembling, manufacturing, selling, supplying and distributing
                      a product that lacked appropriate safety devices;

               h.     Designing, manufacturing, assembling, selling, and/or supplying Duck
                      Boats without incorporating therein the state of the art of the industry and
                      the state of the art in the science and engineering;

               i.     Designing, assembling, manufacturing, selling, supplying and distributing
                      Duck Boats that lacked acceptable buoyancy;

               j.     Designing, assembling, manufacturing, selling, supplying and distributing
                      Duck Boats without following safety recommendations of the NTSB;



                                                25



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 25 of 43
               k.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats in such a manner that passengers become entrapped within the
                       canopy of the boat in the event of swamping or capsizing;

               l.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats with the exhaust system improperly placed leaving the boats
                       exposed to risk of sinking in rough water conditions;

               m.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats that were insufficient and/or unsafe for their intended use.

        130.   By conducting themselves as stated, the actions and/or in-actions of the RTDI

Defendants were substantial factors, a factual cause and/or increased the risk of harm to

Plaintiffs.

        131.   The Duck Boats were not equipped at the time they left the possession and control

of the RTDI Defendants with every element necessary to make them safe for their intended use,

reasonably foreseeable uses, and reasonably foreseeable misuses.

        132.   By reason of the breach of duties pursuant to Missouri Revised Statute

§ 537.760.1 of the RTDI Defendants by and through their agents, servants, workmen,

contractors, suppliers, distributors and/or employees, Plaintiffs were caused to sustain the

serious, permanent, disabling, and fatal personal injuries as set forth more fully above.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.




                                                26



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 26 of 43
                                  COUNT III -NEGLIGENCE

PLAINTIFFS v. RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS,
  RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND
   FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
               AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       133.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       134.    At all relevant times herein and material hereto, the RTDI Defendants

manufactured, designed, distributed, sold, installed, supplied, and/or assembled Stretch Duck 07.

       135.    The RTDI Defendants, by and through their agents, servants, workers and

employees were jointly and severally careless, negligent, grossly negligent and/or reckless as

follows, all of which was within the privity and knowledge of Defendants:

               a.      Designing, assembling, manufacturing, selling, supplying and distributing
                       a product in a defective condition;

               b.      Designing, assembling, manufacturing, selling, supplying and distributing
                       a product that was unreasonably dangerous for its intended use;

               c.      Designing, assembling, manufacturing, selling, supplying and distributing
                       a product that was not safe for all of its intended and represented purposes;

               d.      Failing to have adequate warnings/instructions on and/or with the Duck
                       Boat;

               e.      Failing to provide adequate warnings/instructions to the ultimate users of
                       the product;

               f.      Designing, assembling, manufacturing, selling, supplying and distributing
                       a product which lacked all the necessary safety features;

               g.      Failing to either know of prior accidents and injuries with the product
                       and/or failing to correct and prevent the same accidents and injuries from
                       reoccurring;

               h.      Designing, assembling, manufacturing, selling, supplying and distributing
                       a product that lacked appropriate safety devices;




                                                27



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 27 of 43
               i.      Designing, manufacturing, assembling, selling, and/or supplying Duck
                       Boats without incorporating therein the state of the art of the industry and
                       the state of the art in the science and engineering;

               j.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats that lacked acceptable buoyancy;

               k.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats without following safety recommendations of the National
                       Transportation Safety Board;

               l.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats in such a manner that passengers become entrapped within the
                       canopy of the boat in the event of swamping or capsizing;

               m.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats with the exhaust system improperly placed leaving the boats
                       exposed to risk of sinking in rough water conditions;

               n.      Designing, assembling, manufacturing, selling, supplying and distributing
                       Duck Boats that were insufficient and/or unsafe for their intended use.

       136.    Additionally, the RTDI Defendants operated the Branson Duck Boat operations

for decades.

       137.    In that capacity, the RTDI Defendants set policies and procedures for how Duck

Boat operations would be conducted in Branson, which were later adopted by Ripley.

       138.    The RTDI Defendants hired and trained numerous personnel that were involved

in the acts and omissions that led to this tragedy.

       139.    The RTDI Defendants, by and through their respective agents, servants, workmen

and employees, were negligent, careless, grossly negligent and reckless both generally and in the

following particular respects, all of which was within the privity and/or knowledge of

Defendants:

               a.      Failing to implement policies, procedures and crew training to ensure
                       passenger safety when Duck Boats were operating in Table Rock Lake;

               b.      Failing to develop and implement sufficient safety procedures for
                       emergency situations, including but not limited to, abandoning ship;


                                                 28



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 28 of 43
     c.    Failing to train their personnel how to properly operate Duck Boats in the
           event of adverse weather;

     d.    Operating the Duck Boat in a careless and negligent manner;

     e.    Failing to exercise reasonable care under all of the circumstances;

     f.    Operating a vessel whose engine and/or exhaust system were in a known
           poor state of repair;

     g.    Failing to have properly operating safety equipment on board;

     h.    Failing to distribute life jackets in a timely manner;

     i.    Failing to ensure that all passengers put on their life jackets and that the
           jackets were properly secured;

     j.    Failing to ensure that the captain and the crew were properly trained to
           operate the Duck Boat;

     k.    Failing to properly train the crew in the proper and safe operation of the
           Duck Boat;

     l.    Failing to maintain the Duck Boat in a reasonable manner;

     m.    Failing to recognize a risk to passenger safety in operating the Duck Boat
           during a severe thunderstorm warning;

     n.    Failing to implement and/or follow standard operating procedures;

     o.    Failing to properly qualify the crew;

     p.    Failing to provide the fleet and/or crew with effective safety policies and
           procedures;

     q.    Failing to properly oversee the fleet and/or crew;

     r.    Failing to correct conditions of unseaworthiness within their privity or
           knowledge;

     s.    Failing to have a competent crew piloting the vessel;

     t.    Failing to have a policy prohibiting operation of Duck Boats during a
           severe thunderstorm warning;

     u.    Failing to train their personnel not to operate Duck Boats during a severe
           thunderstorm warning;

     v.    Failing to have a seaworthy vessel that would remain afloat while flooded;


                                     29



Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 29 of 43
                w.      Failing to incorporate the safety recommendations of the NTSB;

                x.      Failing to properly monitor the weather;

                y.      Failing to have proper severe weather policies.

        140.    By reason of the carelessness, negligence, gross negligence and recklessness of

the RTDI Defendants, as aforesaid, Plaintiffs were caused to sustain the serious, permanent,

disabling, and fatal personal injuries as set forth more fully above.

        141.    By conducting themselves as set forth above, the acts and/or omissions of the

RTDI Defendants, were a substantial factor, a factual cause and/or increased the risk of harm of

Plaintiffs’ catastrophic and fatal injuries.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Ride the Ducks

International LLC, d/b/a Ride the Ducks, Ride the Ducks of Branson, LLC, d/b/a Ride the

Ducks, Herschend Family Entertainment Corporation, d/b/a Ride the Ducks, and Amphibious

Vehicle Manufacturing, LLC, jointly and severally, for compensatory damages in excess of the

jurisdictional threshold, along with damages for delay, costs, fees, exemplary, aggravating

circumstances damages, punitive damages, and all other damages allowable and recoverable by

law.

            COUNT IV – OUTRAGEOUS CONDUCT (PUNITIVE DAMAGES)

 PLAINTIFFS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS, RIDE
 THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
      OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY
       ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
              AMPHIBIOUS VEHICLE MANUFACTURING, LLC

        142.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

        143.    At all times relevant hereto, Defendants’ conduct was beyond all possible bounds

of decency and should be regarded as atrocious and utterly intolerable in a civilized community.


                                                 30



        Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 30 of 43
       144.    Defendants blatantly ignored the safety and design recommendations of the

National Transportation Safety Board following the 1999 Miss Majestic disaster and the 2010

fatal accident in Philadelphia.

       145.    Defendants blatantly ignored the written warnings of the private inspector who

told them, in August 2017, that the design of their Duck Boats put their vessels at risk of sinking.

       146.    Defendants egregiously ignored the fact that their Duck Boats were responsible

for dozens of deaths prior to the Table Rock Lake disaster.




       147.    Defendants knew that the defective and dangerous condition of Stretch Duck 07

posed a very high risk of serious bodily injury and/or death to passengers.

       148.    Defendants knowingly, willfully, and intentionally failed to take proper and

recommended action to make their Duck Boats safe for passengers.

       149.    Defendants failed to incorporate the NTSB safety recommendations and safety

designs to save money.


                                                31



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 31 of 43
       150.    Defendants put profits over people and exposed their passengers to unsafe

conditions and hazards to improve their bottom line.

       151.    Defendants’ conduct rises to the level of outrageous conduct by willfully and

recklessly ignoring the known dangerous condition of Stretch Duck 07 which caused Plaintiffs’

fatal and catastrophic injuries.

       152.    Defendants acted in a willful, wanton and reckless disregard for the safety of their

passengers.

       153.    This and other misconduct constituted outrageous, willful and/or wanton

misconduct, and manifested a reckless indifference to the rights of others to support an award of

punitive damages and/or damages for aggravating circumstances.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, jointly and severally, for

compensatory damages in excess of the jurisdictional threshold, along with damages for delay,

costs, fees, exemplary, aggravating circumstances damages, punitive damages, and all other

damages allowable and recoverable by law.

                               COUNT V - WRONGFUL DEATH

 LISA D. BERRY and MARLO ROSE WELLS, individually and as Co-Administrators of
  the Estate of BELINDA COLEMAN, deceased v. RIPLEY ENTERTAINMENT, INC.,
  d/b/a RIDE THE DUCKS, RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE
   THE DUCKS, RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS,
    HERSCHEND FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE
           DUCKS, and AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       154.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.



                                                32



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 32 of 43
       155.    Plaintiffs, Lisa D. Berry and Marlo Rose Wells, are the Co-Administrators of the

Estate of Belinda Coleman, deceased, and are the proper parties to bring this action pursuant to

the provisions of Missouri Revised Statute § 537.080, et seq.

       156.    Plaintiffs, Lisa D. Berry and Marlo Rose Wells, claim on behalf of the Estate of

Belinda Coleman all damages suffered by the estate by reason of the death of Belinda Coleman,

including without limiting the generality of the following:        the severe injuries to Belinda

Coleman, which resulted in her excruciating drowning death; the anxiety, horror, fear of

impending death, mental disturbance, pain, suffering and other intangible losses which Belinda

Coleman suffered prior to her death; the loss of future earning capacity suffered by Belinda

Coleman from the date of her death until the time in the future that she would have lived had she

not died as a result of the injuries she sustained; the loss and the total limitation and deprivation

of her normal activities, pursuits and pleasures from the date of her death until such time in the

future as she would have lived had she not died as a result of the injuries sustained by reason of

the negligence, gross negligence, carelessness, recklessness and/or other liability-producing

conduct of Defendants.

       157.    By reason of the death of Belinda Coleman, her beneficiaries have in the past and

will in the future continue to suffer great pecuniary loss, including, but not limited to, loss of

support, loss of aid, loss of services, loss of companionship, and comfort, loss of counseling and

loss of guidance.

       158.    As a direct and proximate result of the negligence, gross negligence, carelessness,

recklessness and/or other liability-producing conduct of Defendants, Belinda Coleman’s

wrongful death beneficiaries incurred, or have been caused to incur and pay, large and various




                                                 33



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 33 of 43
funeral, burial, estate and administration expenses for which Plaintiffs are entitled to

compensation in this proceeding.

       159.    Plaintiffs, Lisa D. Berry and Marlo Rose Wells, as Co-Administrators of the

Estate of Belinda Coleman, deceased, bring this action by virtue of Missouri Revised Statute

§ 537.080, et seq., and claim all benefits and recoverable damages under § 537.080 and

§ 537.090, et seq., on behalf of all other persons entitled to recover under law.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, jointly and severally, for

compensatory damages in excess of the jurisdictional threshold, along with damages for delay,

costs, fees, exemplary, aggravating circumstances damages, punitive damages, and all other

damages allowable and recoverable by law.

                              COUNT VI - WRONGFUL DEATH

 LISA D. BERRY and MARLO ROSE WELLS, individually and as Co-Administrators of
  the Estate of ANGELA COLEMAN, deceased v. RIPLEY ENTERTAINMENT, INC.,
  d/b/a RIDE THE DUCKS, RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE
   THE DUCKS, RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS,
   HERSCHEND FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE
           DUCKS, and AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       160.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       161.    Plaintiffs, Lisa D. Berry and Marlo Rose Wells, are the Co-Administrators of the

Estate of Angela Coleman, deceased, and are the proper parties to bring this action pursuant to

the provisions of Missouri Revised Statute § 537.080, et seq.




                                                 34



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 34 of 43
       162.    Plaintiffs, Lisa D. Berry and Marlo Rose Wells, claim on behalf of the Estate of

Angela Coleman all damages suffered by the estate by reason of the death of Angela Coleman,

including without limiting the generality of the following:         the severe injuries to Angela

Coleman, which resulted in her excruciating drowning death; the anxiety, horror, fear of

impending death, mental disturbance, pain, suffering and other intangible losses which Angela

Coleman suffered prior to her death; the loss of future earning capacity suffered by Angela

Coleman from the date of her death until the time in the future that she would have lived had she

not died as a result of the injuries she sustained; the loss and the total limitation and deprivation

of her normal activities, pursuits and pleasures from the date of her death until such time in the

future as she would have lived had she not died as a result of the injuries sustained by reason of

the negligence, gross negligence, carelessness, recklessness and/or other liability-producing

conduct of Defendants.

       163.    By reason of the death of Angela Coleman, her beneficiaries have in the past and

will in the future continue to suffer great pecuniary loss, including, but not limited to, loss of

support, loss of aid, loss of services, loss of companionship, and comfort, loss of counseling and

loss of guidance.

       164.    As a direct and proximate result of the negligence, gross negligence, carelessness,

recklessness and/or other liability-producing conduct of Defendants, Angela Coleman’s wrongful

death beneficiaries incurred, or have been caused to incur and pay, large and various funeral,

burial, estate and administration expenses for which Plaintiffs are entitled to compensation in this

proceeding.

       165.    Plaintiffs, Lisa D. Berry and Marlo Rose Wells, as Co-Administrators of the

Estate of Angela Coleman, deceased, bring this action by virtue of Missouri Revised Statute




                                                 35



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 35 of 43
§ 537.080, et seq., and claim all benefits and recoverable damages under § 537.080 and

§ 537.090, et seq., on behalf of all other persons entitled to recover under law.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, jointly and severally, for

compensatory damages in excess of the jurisdictional threshold, along with damages for delay,

costs, fees, exemplary, aggravating circumstances damages, punitive damages, and all other

damages allowable and recoverable by law.

         COUNT VII – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 LISA D. BERRY and MARLO ROSE WELLS, individually and as Co-Administrators of
  the Estate of BELINDA COLEMAN, deceased v. RIPLEY ENTERTAINMENT, INC.,
  d/b/a RIDE THE DUCKS, RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE
   THE DUCKS, RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS,
    HERSCHEND FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE
           DUCKS, and AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       166.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       167.    Belinda Coleman was a passenger on Stretch Duck 07 at the time of this tragedy.

       168.    In the moments leading up to her horrific death when Stretch Duck 07 sank to the

bottom of Table Rock Lake, Belinda Coleman was in the zone of danger and was placed in

danger of, and actually suffered, physical injuries which were eventually fatal.

       169.    In addition, Belinda Coleman witnessed as the thirty passengers of Stretch

Duck 07 suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.




                                                 36



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 36 of 43
       170.    Most horrifically, Belinda Coleman witnessed the fatal injuries sustained by her

husband, Horace, her son, Glenn, her daughter, Angela, her grandsons, Reese, Evan, and

Maxwell, her granddaughter, Arya, and her brother-in-law, Ervin.

       171.    She was a bystander witnessing as her grandson, Donovan, and her daughter-in-

law, Tia, struggled but eventually escaped the sinking Duck Boat.

       172.    In unsuccessfully fighting for her life in Table Rock Lake and as a result of

witnessing the injuries caused to other passengers of Stretch Duck 07, Belinda Coleman, in

addition to her physical injuries, suffered further injuries including, but not limited to: emotional

distress, psychological pain and suffering, severe mental anguish, and other psychological,

emotional, and mental injuries.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, jointly and severally, for

compensatory damages in excess of the jurisdictional threshold, along with damages for delay,

costs, fees, exemplary, aggravating circumstances damages, punitive damages, and all other

damages allowable and recoverable by law.

        COUNT VIII – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 LISA D. BERRY and MARLO ROSE WELLS, individually and as Co-Administrators of
  the Estate of ANGELA COLEMAN, deceased v. RIPLEY ENTERTAINMENT, INC.,
  d/b/a RIDE THE DUCKS, RIDE THE DUCKS INTERNATIONAL LLC, d/b/a RIDE
   THE DUCKS, RIDE THE DUCKS OF BRANSON, LLC, d/b/a RIDE THE DUCKS,
   HERSCHEND FAMILY ENTERTAINMENT CORPORATION, d/b/a RIDE THE
           DUCKS, and AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       173.    Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.



                                                 37



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 37 of 43
       174.    Angela Coleman was a passenger on Stretch Duck 07 at the time of this tragedy.

       175.    In the moments leading up to her horrific death when Stretch Duck 07 sank to the

bottom of Table Rock Lake, Angela Coleman was in the zone of danger and was placed in

danger of, and actually suffered, physical injuries which were eventually fatal.

       176.    In addition, Angela Coleman witnessed as the thirty passengers of Stretch

Duck 07 suffered serious injuries, many fatal, caused as a direct result of Defendants’ conduct.

       177.    Most horrifically, Angela Coleman witnessed the fatal injuries sustained by her

son, Maxwell, her father, Horace, her mother, Belinda, her brother, Glenn, her nephews, Reese

and Evan, her niece, Arya, and her uncle, Ervin.

       178.    She was a bystander witnessing as her son, Donovan, and her sister-in-law, Tia,

struggled but eventually escaped the sinking Duck Boat.

       179.    In unsuccessfully fighting for her life in Table Rock Lake and as a result of

witnessing the injuries caused to other passengers of Stretch Duck 07, Angela Coleman, in

addition to her physical injuries, suffered further injuries including, but not limited to: emotional

distress, psychological pain and suffering, severe mental anguish, and other psychological,

emotional, and mental injuries.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, jointly and severally, for

compensatory damages in excess of the jurisdictional threshold, along with damages for delay,

costs, fees, exemplary, aggravating circumstances damages, punitive damages, and all other

damages allowable and recoverable by law.




                                                 38



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 38 of 43
                          COUNT IX - VIOLATIONS OF THE
                     MISSOURI MERCHANDISING PRACTICES ACT

 PLAINTIFFS v. RIPLEY ENTERTAINMENT, INC., d/b/a RIDE THE DUCKS, RIDE
 THE DUCKS INTERNATIONAL LLC, d/b/a RIDE THE DUCKS, RIDE THE DUCKS
      OF BRANSON, LLC, d/b/a RIDE THE DUCKS, HERSCHEND FAMILY
       ENTERTAINMENT CORPORATION, d/b/a RIDE THE DUCKS, and
              AMPHIBIOUS VEHICLE MANUFACTURING, LLC

       180.     Plaintiffs incorporate herein by reference all preceding paragraphs of this

Complaint as if fully set forth herein.

       181.     Missouri Revised Statute § 407.010, et seq., the Missouri Merchandising Practices

Act (or “MMPA”) makes unlawful the “act, use or employment by any person of any deception,

fraud, false pretense, false promise, misrepresentation, unfair practice or the concealment,

suppression, or omission of any material fact in connection with the sale or advertisement of any

merchandise in trade or commerce”. Mo. Rev. Stat. § 407.020 (1).

       182.     Defendants sold tickets for the ill-fated Stretch Duck 07 tour of July 19, 2018, to

Plaintiffs’ decedents.

       183.     The Stretch Duck 07 tour was a “service” as defined under Missouri Revised

Statute § 407.010, et seq.

       184.     The tickets purchased by or on behalf of Plaintiffs’ decedents for the

Stretch Duck 07 tour of July 19, 2018, were purchased for their personal purpose.

       185.     Defendants represented to consumers, including Plaintiffs’ decedents, that their

Duck Boats were equipped with the “latest in marine safety” and “modern safety equipment”.

       186.     Defendants also stated to consumers, including Plaintiffs’ decedents, that their

Duck Boats were “state of the art”, and utilized “patented safety features that no other duck-style

vehicle has”.




                                                39



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 39 of 43
       187.       Defendants promised consumers, including Plaintiffs’ decedents, that “safety is

our priority”.

       188.       By reason of Defendants’ conduct as set forth above, Defendants have engaged in

unfair or deceptive acts or practices in violation of the MMPA.

       189.       Defendants’ practices as described herein violate the MMPA because the

practices were and are intended to deceive consumers in connection with the sale of their

services and occurred in the course of conduct involving trade and commerce in Taney County,

located within the United States District Court for the Western District of Missouri.

       190.       At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen and employees, violated the MMPA by making and disseminating untrue,

false, and misleading statements to consumers, including Plaintiffs’ decedents, to promote the

sale of their services, or by causing untrue, false, and misleading statements their Duck Boats to

be made or disseminated to consumers, including Plaintiffs’ decedents, in order to promote the

sale and use of their services. These untrue, false, and misleading statements included, but were

not limited to:

                  a.     Misrepresenting the truth about the unsafe nature of their Duck Boats;

                  b.     Misrepresenting that their Duck Boats are safe;

                  c.     Misrepresenting that their Duck Boats have the latest safety features;

                  d.     Misrepresenting that safety is the priority of Defendants;

                  e.     Misleading consumers to believe that their Duck Boats are safe;

                  f.     Falsely claiming that their Duck Boats are safe;

                  g.     Falsely claiming that their Duck Boats utilize state of the art safety
                         equipment;

                  h.     Falsely omitting or minimizing the known dangers associated with their
                         Duck Boats.



                                                  40



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 40 of 43
       191.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen and employees, also violated the MMPA by making statements that omitted

or concealed material facts to promote the sale of their services.

       192.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen and employees, repeatedly failed to disclose or minimized material facts

about the known risks and dangers associated with their Duck Boats.

       193.    At all times relevant herein, Defendants, by and through their respective agents,

servants, workmen, employees, and/or third parties, made and disseminated the foregoing untrue,

false and misleading statements, and material omissions, through an array of marketing channels,

including, but not limited to, online, print, television, and social media advertising.

       194.    Defendants knew at the time of making or disseminating these misstatements and

material omissions, or causing these misstatements and material omissions statements to be made

or disseminated, that they were untrue, false, or misleading and therefore likely to deceive

consumers.

       195.    In addition, Defendants knew or should have known that their marketing and

promotional efforts created an untrue, false, and misleading impression of the safety of their

Duck Boats.

       196.    In sum, Defendants: (a) directly engaged in untrue, false, and misleading

marketing in trade or commerce; (b) disseminated the untrue, false, and misleading marketing

through third parties; and (c) aided and abetted the untrue, false, and misleading marketing

through third parties.

       197.    All of this conduct, separately and collectively, was intended to deceive

consumers, including Plaintiffs’ decedents.




                                                 41



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 41 of 43
       198.   As a direct result of the foregoing acts and practices, Defendants have received, or

will receive, income, profits, and other benefits, which they would not have received if they had

not engaged in the violations of the MMPA as described above.

       199.   By reason of the foregoing, Plaintiffs suffered ascertainable losses, including

economic losses, as described in Missouri Revised Statute § 407.025, et seq., and claim punitive

damages and attorney’s fees pursuant to Missouri Revised Statute § 407.025 (1).

       WHEREFORE, Plaintiffs demand judgment against Defendants, Ripley Entertainment,

Inc., d/b/a Ride the Ducks, Ride the Ducks International LLC, d/b/a Ride the Ducks, Ride the

Ducks of Branson, LLC, d/b/a Ride the Ducks, Herschend Family Entertainment Corporation,

d/b/a Ride the Ducks, and Amphibious Vehicle Manufacturing, LLC, jointly and severally, for

compensatory damages in excess of the jurisdictional threshold, along with damages for delay,

costs, fees, exemplary, aggravating circumstances damages, punitive damages, and all other

damages allowable and recoverable by law.

                             Respectfully submitted,

                             ALESHIRE ROBB, P.C.

                             /s/ Gregory W. Aleshire
                             Gregory W. Aleshire, Mo Bar #38691
                             William R. Robb, Mo Bar #43322
                             Kevin J. Rapp, Mo Bar #57974
                             2847 S. Ingram Mill Road A-102
                             Springfield, MO 65804
                             Phone: (417) 869-3737
                             Fax: (417) 869-5678

                                     AND




                                               42



       Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 42 of 43
                (Pending Admission Pro Hac Vice)
                SALTZ, MONGELUZZI, BARRETT & BENDESKY, P.C.
                Robert J. Mongeluzzi, PA Bar #36283
                Andrew R. Duffy, PA Bar #77121
                Jeffrey P. Goodman, PA Bar #309433
                1650 Market Street, 52nd Floor
                Philadelphia, PA 19103
                Phone: (215) 496-8282
                Fax: (215) 496-0999




                              43



Case 6:18-cv-03226-MDH Document 1 Filed 07/31/18 Page 43 of 43
